LAW OFFICES OF

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PORTER, SCOTT,

WEIBERG & DELEHANT

4, PROFESSIONAL CORPORATION

50 UNIVERSITY AVE., SUITE 200

P.O. BOX 258428

SACRAMENTO, CA 95865

(816) 929-5481

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PORTER, SCOTT, WEIBERG & DELEHANT
A Professional Corporation

Michael W, Pott, SBN186156

Justin N. Telford, SBN 232335

350 University Avenue, Suite 200

Sacramento, California 95825

(916) 929-1481

(916) 927-3706 (facsimile)

smk
Attorneys for Defendant
GTECH CORPORATION
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
BRANDY HASTINGS, CASENO. O4 64 “3
Plaintiff, NOTICE OF REMOVAL OF ACTION
v. UNDER 28 U.S.C. SECTION 1441(b)
(DIVERSITY)

GTECH, CORPORATION, and DOES 1
through 50, inclusive,

Defendants.
/

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

Please take notice that Defendant GTECH, CORPORATION hereby removes to this
Court the State Court action described below.

1. On December 15, 2004, an action was commenced in the Superior Court of the
State of California, County of Sacramento, entitled Brandy Hastings v. GTECH, Corporation
and DOES I-50, inclusive, as case number 04AS05024. A copy of the Complaint in this
action is attached hereto as Exhibit “A”.

2, The first date upon which defendant GTECH, Corporation received a copy of

the complaint was January 7, 2005, when defendant was served with a copy of said complaint

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PORTER, SCOTT,

7 EIBERG & DELEHANT

\ PROFESSIONAL CORPORATION

OG UNIVERSITY AVE., SUITE 200

P.O. BOX 255428

SACRAMENTO, CA S5885

(916) 929-1461

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and a summons from the said state court. A copy of the summons showing the service date
of January 7, 2005 is attached hereto as Exhibit “B”’.

3. The complaint does not contain allegations regarding the specific amount of
money alleged to be at issue in this case. As a result, Defendant GTECH filed an answer to
the Complaint in the Sacramento County Superior Court. A copy of the Answer filed by
GTECH on February 4, 2005, is attached hereto as Exhibit “C”’.

4. In an effort to learn the amount at issue for removal purposes, Defendant
GTECH served Plaintiff with a Request for Statement of Damages on February 4, 2005. A
copy of the Statement of Damages filed and served by GTECH on Plaintiff on February 4,
2005, is attached hereto as Exhibit “D”. Plaintiff did not respond to this request and, when
attorneys for GTECH spoke with counsel for Plaintiff, Plaintiff's counsel indicated he had
never received the request. As a result, on March 3, 2005, Defendant GTECH again served
Plaintiff with a Request for Statement of Damages. A copy of the Statement of Damages
served by GTECH on Plaintiff on March 3, 2005, is attached hereto as Exhibit “E” On March
17, 2005, Plaintiff served Defendant GTECH with a Statement of Damages wherein she
indicates that she is seeking $1,748,000 in damages in this case. A copy of the Statement of
Damages served by Plaintiff on GTECH on March 17, 2004, is attached hereto as Exhibit “F”.

5. This action is a civil action of which the court has original jurisdiction under 28
U.S.C. section 1332, and is on which may be removed to this court by defendant pursuant to
the provision of 28 U.S.C. section 1441{b), in that it is a civil action between citizens of
different states and the matter in controversy exceeds the sum of seventy five thousand dollars,
($75,000.00), exclusive of interests and costs because plaintiff claims the following damages

in this case in her Statement of Damages: lost mcome, lost future income, general and special

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PorTER, SCOTT,

VEIBERG & DELEHANT

8, PROFESSIONAL CORPORATION

30 UNIVERSITY AVE., SUITE 200

P.O. BOX 258428

SACRAMENTO, CA 95885

(916) 929-1481

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damages, attorney fees and punitive damages in the amount of $1,748,000.00.

6. Defendant GTECH is informed and believes that plaintiff Brandy Hastings was,
and still is, a citizen of the State of California, Defendant GTECH, Corporation, was, at the
time of the filing of this action, and still is, a citizen of the State of Rhode Island, as it is a
corporation incorporated under the laws of the State of Rhode Island, having its principal place
of business in the State of Rhode Island, and GTECH is the only Defendant that has been
served a Summons and Complaint in this action

7. Based on the foregoing, this Court has jurisdiction over this action in that this
action involves a controversy which exceeds the value of $75,000.00 exclusive of interest and
costs, and is between citizens of different states. Accordingly, this action is properly removed
to this Court pursuant to the provisions of 28 U.S.C. § 1441 and § 1446.

Dated: March 28, 2005 PORTER, SCOTT, WEIBERG & DELEHANT
A Professional Corporation

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Michael W. Pott
Attorneys for Defendant

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